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                                         U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                     86 Chambers Street
                                                     New York, New York 10007



                                                     March 15, 2021

BY ECF

The Honorable John G. Koeltl
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007-1312

       Re: New Jersey, et al. v. Regan, et al., Case No. 20 Civ. 1425 (JGK)

Dear Judge Koeltl:

        This Office represents defendants Michael Regan, 1 in his official capacity as Administrator
of the United State Environmental Protection Agency (“EPA”), and EPA in the above-referenced
matter. I write to inform the Court that, in accordance with the Court’s July 28, 2020 Opinion and
Order (Dkt. No. 42), EPA has signed a final rule revising the Cross-State Air Pollution Rule
Update, which is attached to this letter. This action, among other things, fully resolves the
outstanding “interstate transport” obligations of the seven Upwind States for the 2008 ozone
national ambient air quality standards, as directed in the Court’s Opinion and Order. Pursuant to
the Court’s August 5, 2020 Judgment (Dkt. No. 44), EPA will submit the final rule no later than
March 19, 2021, for publication in the Federal Register.

       I thank the Court for its consideration.

                                                     Respectfully,

                                                     AUDREY STRAUSS
                                                     United States Attorney
                                                     Southern District of New York

                                                  By: /s/ Lucas Issacharoff
                                                     LUCAS ISSACHAROFF
                                                     Assistant United States Attorney
                                                     (212) 637-2737




1
 Administrator Michael Regan is automatically substituted as the lead defendant pursuant to Fed.
R. Civ. P. 25(d).
